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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

4TH ORDER OF CONTINUANCE
-against- 25 Mag. 0135

BHUPINDERJIT SINGH,

Defendant.
x

Adjourned to June 4, 2025 by Andrew E. Krause, United States Magistrate Judge, having
found that the ends of justice served thereby, outweigh the best interest of the public and the
defendant in a speedy trial, and that the failure to grant a continuance would be a miscarriage of

justice.

Dated: May 7, 2025
White Plains, New York

SO ORDERED:

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ANDREW E. KRAUSE
United States Magistrate Judge

